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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )             CRIM. NO. 13-00653 (11) SOM
                              )
          Plaintiff,          )             ORDER DENYING MOTION TO
                              )             SUPPRESS
     vs.                      )
                              )
DONALD SEALS (11),            )
                              )
          Defendant.          )
_____________________________ )

                   ORDER DENYING MOTION TO SUPPRESS

I.          INTRODUCTION.

            Defendant Donald Seals moves to suppress the contents

of a bag seized from him on November 4, 2012, and statements he

made following a search of the bag on the same date.              Seals’s

motion to suppress is denied.

II.         FACTUAL BACKGROUND.

            The Government and Seals have stipulated to the facts

they ask this court to consider on this motion.             ECF No. 287.

The court adopts the stipulated facts as this court’s factual

findings, and admits for the purposes of deciding this motion the

exhibits attached to the stipulation.

            On November 4, 2012, law enforcement officers

intercepted phone calls between Defendant John Penitani and

Defendant Robert Akolo.       Id., PageID #s 946-47.        The phone calls

indicated that a “tall . . . [d]ark skinned . . . fifty year[]

old” drug courier was waiting to be picked up by Penitani at

Baggage Claim “F” in the Honolulu International Airport.               Id.,
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PageID # 947.

             Drug Enforcement Administration (“DEA”) Special Agents

observed an individual at Baggage Claim “F” matching that

description of the courier.        Id., PageID # 948.           The individual,

later identified as Defendant Donald Seals, was sitting on a

bench with a black bag while talking on a cellular phone.                   Id.

             At approximately 12:00 p.m, DEA Special Agent Patrick

Wong approached Seals, identified himself as a law enforcement

officer, and asked if he could speak with Seals.                  Id., PageID

# 949.    Seals agreed, and, in conversing with Agent Wong, said

that he had arrived from Oakland, was vacationing in Hawaii for a

couple of days, and did not yet have a hotel or return flight

booked.    Id.   Seals also indicated that he had packed his own bag

and that no other person had given him anything to carry on his

flight.    Id., PageID # 950.      Agent Wong asked if he could search

Seals’s bag.     Id.     After discussion, Seals said, “I’d prefer that

you not.”    Id.

             Given what law enforcement agents knew from their

investigation, which included wiretapped evidence, as well as

Seals’s responses to Agent Wong’s questions and the indication

that Defendant John Penitani was nearby, Special Agent Lauren

Carney directed Agent Wong to arrest Seals at approximately 12:05

p.m.   Id.   Seals was taken to the Hawaii Airport Task Force

(“HATF”) office after his arrest in light of agents’ concern that


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Penitani and possibly other associates were about to arrive on

the scene, which raised safety concerns for agents.                 Id., PageID

#s 950-51.

            At approximately 12:15 p.m., DEA agents searched Seals,

then his bag, at the HATF office.            Id., PageID # 951.        The agents

found in Seals’s bag a plastic bag containing a white substance

later identified as methamphetamine.             Id.

            At approximately 1:00 p.m., Seals was read his Miranda

rights.    Id., PageID # 952.     Seals agreed to speak with DEA

agents.    Id.   He said that this was his first visit to Hawaii,

that he did not know the person he was to meet in Hawaii, that he

could not go home or back to his life if he cooperated with

agents, and that the agents already knew the “big fish.”                  Id.

Seals also said that he had gone through airport security with

nothing on him, that this was a national security issue, and that

he was in a motorcycle club in California.               Id.   The interview

ended at 1:30 p.m.       Id.

            In his motion, Seals argues that the contents of his

bag must be suppressed because the search of the bag was not a

valid search incident to his arrest.             ECF No. 236-1, PageID #

693.    Seals also argues that the statements he made after the

search of his bag must be suppressed as fruit of the poisonous

tree.    Id., PageID # 694-95.

            The Government contends that the search of Seals’s bag


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was a valid search incident to arrest.              ECF No. 269, PageID

# 845-49.    In the alternative, the Government argues that,

because the contents of Seals’s bag would inevitably have been

discovered through an inventory search, that evidence should not

be suppressed.     Id., PageID # 852.

III.        THE SEARCH OF SEALS’S BAG WAS A VALID SEARCH INCIDENT
            TO ARREST.

            “[S]earches conducted outside the judicial process,

without prior approval by judge or magistrate, are per se

unreasonable under the Fourth Amendment--subject only to a few

specifically established and well-delineated exceptions.”                   Katz

v. United States, 389 U.S. 347, 357 (1967).                  One exception to the

warrant requirement is a search incident to lawful arrest.

Arizona v. Gant, 556 U.S. 332, 338 (2009).               The search incident

to arrest exception “permits law enforcement officers to conduct

a warrantless search of a person who is arrested, and of his

surrounding area, when the search is incident to the arrest.”

United States v. Smith, 389 F.3d 944, 950-51 (9th Cir. 2004).                    To

be valid, “1) the area searched must be that area under the

arrestee’s immediate control when he was arrested, and 2) events

between the time of the arrest and search must not render the

search unreasonable.”      United States v. Nohara, 3 F.3d 1239, 1243

(9th Cir. 1993).

            Seals contends that the search of his bag was not a

valid search incident to arrest because it occurred “more than 10

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minutes after his arrest, at a distant location, while Seals was

handcuffed and locked in a holding room.”               ECF No. 236-2, PageID

# 693.

            A search of property seized at the time of arrest

“cannot be justified as incident to that arrest either if the

search is remote in time or place from the arrest, or no exigency

exists.”    United States v. Chadwick, 433 U.S. 1 (1977), abrogated

on other grounds by California v. Acevedo, 500 U.S. 565 (1991)

(internal quotation marks and citation omitted).                 The court must

consider “whether the arrest and search are so separated in time

or by intervening acts that the latter cannot be said to have

been incident to the former.”       United States v. Smith, 389 F.3d

944, 951 (9th Cir. 2004) (internal quotation marks omitted).

            The search of Seals’s bag was not remote in time from

his arrest.    While “[t]here is no fixed outer limit for the

number of minutes that may pass between an arrest and a valid,

warrantless search that is a contemporaneous incident of the

arrest,” United States v. McLaughlin, 170 F.3d 889, 892 (9th Cir.

1999), the Ninth Circuit has upheld searches incident to arrest

occurring up to fifteen minutes after the arrest, and invalidated

searches occurring thirty to forty-five minutes after the arrest.

Compare United States v. Weaver, 433 F.3d 1104, 1106-07 (9th Cir.

2006) (upholding a search that took place “ten to fifteen

minutes” after the arrest as “a contemporaneous incident” of the


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arrest), with United States v. Vasey, 834 F.2d 782, 787-88 (9th

Cir. 1987) (invalidating a search conducted “anywhere from thirty

to forty-five minutes” after the arrest).                The search of Seals’s

bag appears to have occurred within ten to fifteen minutes of the

arrest, the same time frame the Ninth Circuit permitted in

Weaver.    See ECF No. 287, PageID # 950-51.              Nothing in the record

suggests that the time between Seals’s arrest and the search of

his bag invalidates the search, and Seals’s counsel conceded at

the hearing on this motion that, without more, the time gap was

not problematic.

            Moreover, the short delay appears to have been the

result of exigent circumstances.             Agents were concerned that

Penitani and possibly others would arrive on the scene and create

a dangerous situation.       See ECF No. 287, PageID #s 950-51.

            Nor does the location of the search of Seals’s bag

invalidate the search.       Although agents searched Seals’s bag at a

location other than that of Seals’s arrest, it is similarly clear

that agents transported Seals and his bag to the HATF office out

of concern about the imminent arrival of people who might create

a safety issue.     Id.    The agents were so anxious to move Seals

before Penitani arrived that they did not even search Seals

himself before moving him to the HATF office.                 The HATF office

was within the airport complex, a short distance from the site of

the arrest, and Seals and his bag were searched in the office.


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            Under the circumstances presented by the arrest, the

agents appear to have searched Seals’s bag as soon as reasonably

practicable and as close to the place of arrest as feasible.                    See

United States v. Smith, 389 F.3d 944, 951 (9th Cir. 2004) (“[O]ur

focus [is] not strictly on the timing of the search but its

relationship to (and reasonableness in light of) the

circumstances of the arrest.”); McLaughlin, 170 F.3d at 892

(“[S]ome courts have characterized the critical issue as whether

the arresting officers conducted the search as soon as it was

practical to do so, including whether the officers took

intervening actions not directly related to the search.”); United

States v. Turner, 926 F.2d 883, 887-88 (9th Cir. 1991).

            The arrest, removal of Seals, and search of Seals’s bag

were part of a quick, continuous sequence of events.                 It cannot

be said that the search was so separated from the arrest by

intervening acts that it was not incident to the arrest.                  See

Smith, 389 F.3d at 951 (“[A] search need not be conducted

immediately upon the heels of an arrest, but sometimes may be

conducted well after the arrest, so long as it occurs during a

continuous sequence of events.”); United States v. Nelson, 102

F.3d 1344, 1347 (4th Cir. 1996) (“Pragmatic necessity requires

that we uphold the validity and reasonableness of a search

incident to arrest if the search is part of the specific law

enforcement operation during which the search occurs.”).


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            Because the search of Seals’s bag was a valid search

incident to arrest, evidence obtained from the bag and Seals’s

statements subsequent to the search are not suppressed.

IV.         THE SEARCH OF SEALS’S BAG WAS ALSO A VALID INVENTORY
            SEARCH.

            Even if the search of Seals’s bag was not a valid

search incident to arrest, the search was an allowable inventory

search.

            Inventory searches are not subject to the warrant

requirement.     Colorado v. Bertine, 479 U.S. 367, 371 (1987).

“Inventory procedures serve to protect an owner’s property while

it is in the custody of the police, to insure against claims of

lost, stolen, or vandalized property, and to guard the police

from danger.”     Id. at 372.    To be valid, an inventory search

“must be conducted according to standard agency procedures.”

United States v. Mancera-Londono, 912 F.2d 373, 375 (9th Cir.

1990).    Standard procedures are required for the opening of

containers during inventory searches because “an inventory search

must not be a ruse for a general rummaging in order to discover

incriminating evidence.”      Florida v. Wells, 495 U.S. 1, 4 (1990).

            In the present case, the Government shows that the

evidence at issue would inevitably have been discovered by agents

conducting an inventory search of Seals’s bag following his

arrest.    The inevitable discovery doctrine, an exception to the

exclusionary rule, “permits the admission of otherwise excluded

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evidence if the government can prove that the evidence would have

been obtained inevitably and, therefore, would have been admitted

regardless of any overreaching by the police.”                United States v.

Reilly, 224 F.3d 986, 994 (9th Cir. 2000) (internal quotation

marks omitted).

            The Stipulation of Facts indicates that DEA agents

would have inventoried the contents of Seals’s bag following his

arrest pursuant to standard DEA procedure.               ECF No. 287, PageID #

953.   “[I]t is not unreasonable for police, as part of the

routine procedure incident to incarcerating an arrested person,

to search any container or article in his possession, in

accordance with established inventory procedures.”                 Illinois v.

Lafayette, 462 U.S. 640, 648 (1983) (internal quotation marks

omitted).    Because the record shows that DEA agents would have

conducted a search of Seals’s bag pursuant to established

procedures, the evidence obtained from Seals’s bag would

inevitably have been discovered.            For that reason, even assuming

the search incident to arrest exception to the warrant

requirement does not apply here, the evidence obtained from the

bag and Seals’s subsequent statements are not suppressed.

V.          CONCLUSION.

            Seals’s motion to suppress is denied.




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             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, November 20, 2014.


                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     Chief United States District Judge




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